        Case 1:00-cv-00697-JFM Document 316 Filed 04/27/07 Page 1 of 3




            In the United States Court of Federal Claims
                                    No. 00-697 C
                               (Filed April 27, 2007)

*******************************
WISCONSIN ELECTRIC             *
     POWER COMPANY,            *
                               *
                    Plaintiff, *
                               *
          v.                   *
                               *
THE UNITED STATES,             *
                               *
                    Defendant. *
*******************************

                                      ORDER

       On April 17, 2007, the clerk’s office received a Motion to Intervene,
Memorandum, Complaint and Certificate of Service (collectively, “the Submissions”)
from Mr. William Peterson. The clerk’s office did not file the Submissions because
they did not comport with the court’s rules, but forwarded them to chambers for a
ruling as to their disposition.

       Following review, the court concludes the Submissions should not be filed but
should be returned to Mr. Peterson. His request for intervention is untimely. RCFC
24. This spent nuclear fuel case was commenced in 2000 and has been the subject of
a number of decisions and orders addressing a variety of pre-trial motions and the
parties now are well-advanced in their final preparations for trial, which is scheduled
to commence on September 10, 2007.

      In addition to being untimely, Mr. Peterson’s requests do not satisfy the
requisites for intervention. He seeks to intervene ostensibly to obtain access to the
Nuclear Waste Fund (“NWF”) and asks that the court make certain policy
determinations and statements concerning nuclear power, requests that mainly call for
declaratory relief. However, this court generally lacks jurisdiction to issue
        Case 1:00-cv-00697-JFM Document 316 Filed 04/27/07 Page 2 of 3




declaratory judgments. United States v. King, 395 U.S. 1, 5 (1969). In any event, Mr.
Peterson’s Submissions do not qualify for intervention in this litigation.

       Intervention requires a timely application and either (1) a statute that “confers
an unconditional right to intervene: or (2) . . . an interest relating to the property or
transaction which is the subject of the action and the applicant is so situated that the
disposition of the action may as a practical matter impair or impede the applicant’s
ability to protect that interest, unless the applicant’s interest is adequately represented
by existing parties.” RCFC 24(a). No statutory right to intervene is stated, and Mr.
Peterson does not have an “interest” in the plaintiff’s underlying partial breach of
contract claims against the United States such as to permit intervention under RCFC
24(a)(2) as a matter of right. United Keetoowah Band of Cherokee Indians of Okla.
v. United States, __F.3d __, 2007 WL 803499, at *8-9 (Fed. Cir. Mar. 19, 2007)
(construing RCFC 19(a)(2), a counterpart to RCFC 24(a)(2)); Am. Mar. Transp., Inc.
v. United States, 870 F.2d 1559, 1561 (Fed. Cir. 1989) (“Intervention is proper only
to protect those interests which are of such a direct and immediate character that the
intervenor will either gain or lose by the direct legal operation and effect of the
judgment.” (internal quotation and citations omitted)); Preseault v. United States,
100 F.3d 1525, 1529 (Fed. Cir. 1996) (intervening party had an interest in the real
estate); Rolls-Royce, Ltd., Derby, England v. United States, 176 Ct. Cl. 694, 696, 364
F.2d 415, 416 (1966) (affirming intervention because of indemnity agreement
wherein intervenor could be liable for a judgment rendered against the United States).

       Similarly, the Submissions do not warrant permissive intervention under RCFC
24(b). No statute creates a conditional right to intervene and no common direct issue
of fact or law is cited. Intervention would delay the final resolution of this matter.
Honeywell Intern., Inc. v. United States, 71 Fed. Cl. 759, 768 (2006) (RCFC 24(b)(2)
requires common questions of law or fact and intervention must not unduly delay or
prejudice resolution of the litigation); John R. Sand & Gravel Co. v. United States,
59 Fed. Cl. 645, 657-58 (2004) (denying permissive intervention where there were
no common issues of fact or law, allowing intervention would burden the proceedings
and the proposed intervenor did not have a claim against the United States, a
prerequisite for jurisdiction in this court under the Tucker Act, 28 U.S.C. §
1491(a)(1)(2000)).




                                           -2-
       Case 1:00-cv-00697-JFM Document 316 Filed 04/27/07 Page 3 of 3




      Accordingly, it is ORDERED that no valid basis for seeking intervention has
been shown and the Clerk of the Court shall return the Submissions to Mr. Peterson
together with a paper copy of this order.



                                             s/ James F. Merow
                                             James F. Merow
                                             Senior Judge




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